Case 1:19-md-02875-RMB-SAK   Document 2663-7   Filed 02/26/24   Page 1 of 9 PageID:
                                   98265




                             Exhibit 6
 Case 1:19-md-02875-RMB-SAK                           Document 2663-7                   Filed 02/26/24              Page 2 of 9 PageID:
                                                            98266
                                                                                                                                  Peng Dong
                                                   European Medicines Agency
                                                   Evaluation of Medicines for Human Use                                        ZHP 206
                                                                                                                                        4/1/2021


                                                                                                       London, 28 June 2006
                                                                                                        CPMP/SWP/5199/02
                                                                                               EMEA/CHMP/QWP/251344/2006



                       COMMITTEE FOR MEDICINAL PRODUCTS FOR HUMAN USE
                                           (CHMP)




                                                                                                        d
                                                                        de
                         GUIDELINE ON THE LIMITS OF GENOTOXIC IMPURITIES



          This document was valid from 1 January 2007 to 31 January 2018.
                     It is now superseded by a new document
                                           se
        DISCUSSION IN THE SAFETY WORKING PARTY                                                                  June 2002 – October
                                                                                                                              2002

        TRANSMISSION TO CPMP                                                                                          December 2002

        RELEASE FOR CONSULTATION                                                                                      December 2002

        DEADLINE FOR COMMENTS                                                                                              March 2003
                 er

        DISCUSSION IN THE SAFETY WORKING PARTY AND                                                                          June 2003 -

        QUALITY WORKING PARTY                                                                                           February 2004

        TRANSMISSION TO CPMP                                                                                               March 2004
   p


        RE-RELEASE FOR CONSULTATION                                                                                           June 2004

        DEADLINE FOR COMMENTS                                                                                         December 2004
Su



        DISCUSSION IN THE SAFETY WORKING PARTY AND                                                                    February 2005 -

        QUALITY WORKING PARTY                                                                                                 May 2006

        ADOPTION BY CHMP                                                                                                  28 June 2006

        DATE FOR COMING INTO EFFECT                                                                                   01 January 2007


                                      Impurities; Genotoxicity; Threshold of toxicological concern (TTC);
        KEYWORDS                      Structure activity relationship (SAR)


                                          7 Westferry Circus, Canary Wharf, London, E14 4HB, UK
                                             Tel. (44-20) 74 18 84 00 Fax (44-20) 74 18 86 13
                                            E-mail: mail@emea.eu.int http://www.emea.eu.int
    EMEA 2006 Reproduction and/or distribution of this document is authorised for non commercial purposes only provided the EMEA is acknowledged
 Case 1:19-md-02875-RMB-SAK                           Document 2663-7                   Filed 02/26/24               Page 3 of 9 PageID:
                                                            98267




                          GUIDELINE ON THE LIMITS OF GENOTOXIC IMPURITIES


                                                     TABLE OF CONTENTS


    EXECUTIVE SUMMARY ........................................................................................................... 3
    1. INTRODUCTION ................................................................................................................ 3
    2. SCOPE ................................................................................................................................ 3




                                                                                                        d
    3. LEGAL BASIS..................................................................................................................... 3
    4. TOXICOLOGICAL BACKGROUND ................................................................................... 4
    5. RECOMMENDATIONS ....................................................................................................... 4
      5.1 Genotoxic Compounds With Sufficient Evidence for a Threshold-Related Mechanism .......... 4




                                                                        de
      5.2 Genotoxic Compounds Without Sufficient Evidence for a Threshold-Related Mechanism ..... 5
      5.2.1    Pharmaceutical Assessment ....................................................................................... 5
      5.2.2    Toxicological Assessment ......................................................................................... 5
      5.2.3    Application of a Threshold of Toxicological Concern .................................................. 5
      5.3 Decision Tree for Assessment of Acceptability of Genotoxic Impurities ............................... 7
    REFERENCES ............................................................................................................................. 8
                                           se
   p             er
Su




                                                                  EMEA 2006                                                               2/8
 Case 1:19-md-02875-RMB-SAK               Document 2663-7           Filed 02/26/24        Page 4 of 9 PageID:
                                                98268



    EXECUTIVE SUMMARY
    The toxicological assessment of genotoxic impurities and the determination of acceptable limits for
    such impurities in active substances is a difficult issue and not addressed in sufficient detail in the
    existing ICH Q3X guidances. The data set usually available for genotoxic impurities is quite variable
    and is the main factor that dictates the process used for the assessment of acceptable limits. In the
    absence of data usually needed for the application of one of the established risk assessment methods,
    i.e. data from carcinogenicity long-term studies or data providing evidence for a threshold mechanism
    of genotoxicity, implementation of a generally applicable approach as defined by the Threshold of
    Toxicological Concern (TTC) is proposed. A TTC value of 1.5 µg/day intake of a genotoxic impurity




                                                                                d
    is considered to be associated with an acceptable risk (excess cancer risk of <1 in 100,000 over a
    lifetime) for most pharmaceuticals. From this threshold value, a permitted level in the active substance
    can be calculated based on the expected daily dose. Higher limits may be justified under certain
    conditions such as short-term exposure periods.




                                                        de
    1. INTRODUCTION
    A general concept of qualification of impurities is described in the guidelines for active substances
    (Q3A, Impurities in New Active Substances) or medicinal products (Q3B, Impurities in New
    Medicinal Products), whereby qualification is defined as the process of acquiring and evaluating data
    that establishes the biological safety of an individual impurity or a given impurity profile at the
    level(s) specified. In the case of impurities with a genotoxic potential, determination of acceptable
    dose levels is generally considered as a particularly critical issue, which is not specifically covered by
    the existing guidelines.
                                  se
    2. SCOPE
    This Guideline describes a general framework and practical approaches on how to deal with genotoxic
    impurities in new active substances. It also relates to new applications for existing active substances,
    where assessment of the route of synthesis, process control and impurity profile does not provide
              er
    reasonable assurance that no new or higher levels of genotoxic impurities are introduced as compared
    to products currently authorised in the EU containing the same active substance. The same also applies
    to variations to existing Marketing Authorisations pertaining to the synthesis. The guideline does,
    however, not need to be applied retrospectively to authorised products unless there is a specific cause
    for concern.
    In the current context the classification of a compound (impurity) as genotoxic in general means that
    there are positive findings in established in vitro or in vivo genotoxicity tests with the main focus on
   p


    DNA reactive substances that have a potential for direct DNA damage. Isolated in vitro findings may
    be assessed for in vivo relevance in adequate follow-up testing. In the absence of such information in
    vitro genotoxicants are usually considered as presumptive in vivo mutagens and carcinogens.
Su



    3. LEGAL BASIS
    This guideline has to be read in conjunction with Directive 2001/83/EC (as amended) and all relevant
    CHMP Guidance documents with special emphasis on:
    Impurities Testing Guideline: Impurities in New Drug Substances (CPMP/ICH/2737/99, ICHQ3A(R))
    Note for Guidance on Impurities in New Drug Products (CPMP/ICH/2738/99, ICHQ3B (R))
    Note for Guidance on Impurities: Residual Solvents (CPMP/ICH/283/95)
    Note for Guidance on Genotoxicity: Guidance on Specific Aspects of Regulatory Genotoxicity Tests
    for Pharmaceuticals (CPMP/ICH/141/95, ICHS2A)
    Note for Guidance on Genotoxicity: A Standard Battery for Genotoxicity Testing of Pharmaceuticals
    (CPMP/ICH/174/95, ICHS2B)




                                                   EMEA 2006                                              3/8
 Case 1:19-md-02875-RMB-SAK                Document 2663-7           Filed 02/26/24        Page 5 of 9 PageID:
                                                 98269


    4. TOXICOLOGICAL BACKGROUND
    According to current regulatory practice it is assumed that (in vivo) genotoxic compounds have the
    potential to damage DNA at any level of exposure and that such damage may lead/contribute to
    tumour development. Thus for genotoxic carcinogens it is prudent to assume that there is no
    discernible threshold and that any level of exposure carries a risk.
    However, the existence of mechanisms leading to biologically meaningful threshold effects is
    increasingly acknowledged also for genotoxic events. This holds true in particular for compounds
    interacting with non-DNA targets and also for potential mutagens, which are rapidly detoxified before
    coming into contact with critical targets. The regulatory approach to such chemicals can be based on
    the identification of a critical no-observed-effect level (NOEL) and use of uncertainty factors.




                                                                                  d
    Even for compounds which are able to react with the DNA molecule, extrapolation in a linear manner
    from effects in high-dose studies to very low level (human) exposure may not be justified due to
    several protective mechanisms operating effectively at low doses. However, at present it is extremely




                                                         de
    difficult to experimentally prove the existence of threshold for the genotoxicity of a given mutagen.
    Thus, in the absence of appropriate evidence supporting the existence of a threshold for a genotoxic
    compound making it difficult to define a safe dose it is necessary to adopt a concept of a level of
    exposure that carries an acceptable risk.

    5. RECOMMENDATIONS
    As stated in the Q3A guideline, actual and potential impurities most likely to arise during synthesis,
    purification and storage of the new drug substance should be identified, based on a sound scientific
                                  se
    appraisal of the chemical reactions involved in the synthesis, impurities associated with raw materials
    that could contribute to the impurity profile of the new drug substance, and possible degradation
    products. This discussion can be limited to those impurities that might reasonably be expected based
    on knowledge of the chemical reactions and conditions involved. Guided by existing genotoxicity data
    or the presence of structural alerts, potential genotoxic impurities should be identified. When a
    potential impurity contains structural alerts, additional genotoxicity testing of the impurity, typically in
    a bacterial reverse mutation assay, should be considered (Dobo et al. 2006, Müller et al. 2006). While
               er
    according to the Q3A guideline such studies can usually be conducted on the drug substance
    containing the impurity to be controlled, studies using isolated impurities are much more appropriate
    for this purpose and highly recommended.
    For determination of acceptable levels of exposure to genotoxic carcinogens considerations of possible
    mechanisms of action and of the dose-response relationship are important components. Based on the
    above considerations genotoxic impurities may be distinguished into the following two classes:
   p


    -     Genotoxic compounds with sufficient (experimental) evidence for a threshold-related mechanism
    -     Genotoxic compounds without sufficient (experimental) evidence for a threshold-related
          mechanism
Su



    5.1     Genotoxic Compounds With Sufficient Evidence for a Threshold-Related Mechanism
    Examples of mechanisms of genotoxicity that may be demonstrated to lead to non-linear or
    thresholded dose-response relationships include interaction with the spindle apparatus of cell division
    leading to aneuploidy, topoisomerase inhibition, inhibition of DNA synthesis, overloading of defence
    mechanisms, metabolic overload and physiological perturbations (e.g. induction of erythropoeisis,
    hyper- or hypothermia).
    For (classes of) compounds with clear evidence for a thresholded genotoxicity, exposure levels which
    are without appreciable risk of genotoxicity can be established according to the procedure as outlined
    for class 2 solvents in the Q3C Note for Guidance on Impurities: Residual Solvents. This approach
    calculates a “Permitted Daily Exposure” (PDE), which is derived from the NOEL, or the lowest-
    observed effect level (LOEL) in the most relevant (animal) study using “uncertainty factors” (UF).




                                                    EMEA 2006                                               4/8
 Case 1:19-md-02875-RMB-SAK               Document 2663-7           Filed 02/26/24        Page 6 of 9 PageID:
                                                98270


    5.2     Genotoxic Compounds Without Sufficient Evidence for a Threshold-Related Mechanism
    The assessment of acceptability of genotoxic impurities for which no threshold mechanisms are
    identified should include both pharmaceutical and toxicological evaluations. In general,
    pharmaceutical measurements should be guided by a policy of controlling levels to “as low as
    reasonably practicable” (ALARP principle), where avoiding is not possible. Levels considered being
    consistent with the ALARP principle following pharmaceutical assessment should be assessed for
    acceptability from a toxicological point of view (see decision tree & following sections).
    5.2.1    Pharmaceutical Assessment
    A specific discussion – as part of the overall discussion on impurities (see Q3A(R)) – should be




                                                                                d
    provided in the application with regard to impurities with potential genotoxicity.
    A rationale of the proposed formulation/manufacturing strategy should be provided based on available
    formulation options and technologies. The applicant should highlight, within the chemical process and
    impurity profile of active substance, all chemical substances, used as reagents or present as




                                                        de
    intermediates, or side-products, known as genotoxic and/or carcinogenic (e.g. alkylating agents).
    More generally, reacting substances and substances which show “alerting structure” in terms of
    genotoxicity which are not shared with the active substance should be considered (see e.g. Dobo et al.
    2006). Potential alternatives which do not lead to genotoxic residues in the final product, should be
    used if available.
    A justification needs to be provided that no viable alternative exists, including alternative routes of
    synthesis or formulations, different starting materials. This might for instance include cases where the
    structure, which is responsible for the genotoxic and/or carcinogenic potential is equivalent to that
                                  se
    needed in chemical synthesis (e.g. alkylation reactions).
    If a genotoxic impurity is considered to be unavoidable in a drug substance, technical efforts (e.g.
    purification steps) should be undertaken to reduce the content of the genotoxic residues in the final
    product in compliance with safety needs or to a level as low as reasonably practicable (see safety
    assessment). Data on chemical stability of reactive intermediates, reactants, and other components
    should be included in this assessment.
              er
    Detection and/or quantification of these residues should be done by state-of-the-art analytical
    techniques.
    5.2.2    Toxicological Assessment
    The impossibility of defining a safe exposure level (zero risk concept) for genotoxic carcinogens
    without a threshold and the realization that complete elimination of genotoxic impurities from drug
    substances is often unachievable, requires implementation of a concept of an acceptable risk level, i.e.
   p


    an estimate of daily human exposure at and below which there is a negligible risk to human health.
    Procedures for the derivation of acceptable risk levels are considered in the Appendix 3 of the Q3C
    Note for Guidance on Impurities: Residual Solvents for Class 1 solvents. However, these approaches
    require availability of adequate data from long-term carcinogenicity studies.
Su



    In most cases of toxicological assessment of genotoxic impurities only limited data from in vitro
    studies with the impurity (e.g. Ames test, chromosomal aberration test) are available and thus
    established approaches to determine acceptable intake levels cannot be applied. Calculation of “safety
    multiples” from in vitro data (e.g. Ames test) are considered inappropriate for justification of
    acceptable limits. Moreover, negative carcinogenicity and genotoxicity data with the drug substance
    containing the impurity at low ppm levels do not provide sufficient assurance for setting acceptable
    limits for the impurity due to the lack of sensitivity of this testing approach. Even potent mutagens and
    carcinogens are most likely to remain undetected when tested as part of the drug substance, i.e. at very
    low exposure levels. A pragmatic approach is therefore needed which recognises that the presence of
    very low levels of genotoxic impurities is not associated with an unacceptable risk.
    5.2.3    Application of a Threshold of Toxicological Concern
    A threshold of toxicological concern (TTC) has been developed to define a common exposure level
    for any unstudied chemical that will not pose a risk of significant carcinogenicity or other toxic effects

                                                   EMEA 2006                                              5/8
 Case 1:19-md-02875-RMB-SAK               Document 2663-7           Filed 02/26/24        Page 7 of 9 PageID:
                                                98271


    (Munro et al. 1999, Kroes and Kozianowski 2002). This TTC value was estimated to be 1.5
    µg/person/day. The TTC, originally developed as a “threshold of regulation” at the FDA for food-
    contact materials (Rulis 1989, FDA 1995) was established based on the analysis of 343 carcinogens
    from a carcinogenic potency database (Gold et al. 1984) and was repeatedly confirmed by evaluations
    expanding the database to more than 700 carcinogens (Munro 1990, Cheeseman et al. 1999, Kroes et
    al. 2004). The probability distribution of carcinogenic potencies has been used to derive an estimate of
    a daily exposure level (µg/person) of most carcinogens which would give rise to less than a one in a
    million (1 x 10-6) upper bound lifetime risk of cancer (“virtually safe dose”). Further analysis of
    subsets of high potency carcinogens led to the suggestion of a 10-fold lower TTC (0.15 µg/day) for
    chemicals with structural alerts that raise concern for potential genotoxicity (Kroes et al. 2004).
    However, for application of a TTC in the assessment of acceptable limits of genotoxic impurities in




                                                                                d
    drug substances a value of 1.5 µg/day, corresponding to a 10-5 lifetime risk of cancer can be justified
    as for pharmaceuticals a benefit exists. It should be recognized in this context that the methods on
    which the TTC value is based, are generally considered very conservative since they involved a simple
    linear extrapolation from the dose giving a 50% tumour incidence (TD50) to a 1 in 106 incidence,




                                                         de
    using TD50 data for the most sensitive species and most sensitive site (several “worst case”
    assumptions) (Munro et al. 1999).
    Some structural groups were identified to be of such high potency that intakes even below the TTC
    would be associated with a high probability of a significant carcinogenic risk (Cheeseman et al. 1999,
    Kroes et al. 2004). This group of high potency genotoxic carcinogens comprises aflatoxin-like-, N-
    nitroso-, and azoxy-compounds that have to be excluded from the TTC approach. Risk assessment of
    members of such groups requires compound-specific toxicity data.
                                  se
    There may be reasons to deviate from the TTC value based on the profile of genotoxicity results.
    Positive result from in vitro studies only may allow to exempt an impurity from limitation at TTC
    level if lack of in vivo relevance of the findings is convincingly demonstrated based on a weight-of-
    evidence approach (see ICH S2 guidelines). This approach will usually need negative results with the
    impurity from some additional in vitro and/or appropriate in vivo testing.
    A TTC value higher than 1.5 µg/day may be acceptable under certain conditions, e.g. short-term
    exposure, for treatment of a life-threatening condition, when life expectancy is less than 5 years, or
              er
    where the impurity is a known substance and human exposure will be much greater from other sources
    (e.g. food). Genotoxic impurities that are also significant metabolites may be assessed based on the
    acceptability of the metabolites.
    The concentration limits in ppm of genotoxic impurity in drug substance derived from the TTC can be
    calculated based on the expected daily dose to the patient using equation (1).
    (1) Concentration limit (ppm) = TTC [µg/day]
   p


                                          dose (g/day]
    The TTC concept should not be applied to carcinogens where adequate toxicity data (long-term
    studies) are available and allow for a compound-specific risk assessment.
Su



    It has to be emphasized that the TTC is a pragmatic risk management tool using a probabilistic
    methodology, i.e. there is a high probability that a 10-5 lifetime cancer risk will not be exceeded if the
    daily intake of a genotoxic impurity with unknown carcinogenic potential/potency is below the TTC
    value. The TTC concept should not be interpreted as providing absolute certainty of no risk.




                                                   EMEA 2006                                              6/8
 Case 1:19-md-02875-RMB-SAK                     Document 2663-7              Filed 02/26/24        Page 8 of 9 PageID:
                                                      98272



    5.3      Decision Tree for Assessment of Acceptability of Genotoxic Impurities
                (shaded boxes = pharmaceutical assessment, white boxes = toxicological assessment)




                                                                                        Sufficient evidence for
                                          Genotoxic impurity                        threshold-related mechanism
                                                                                            of genotoxicity




                                                                                          d
                                    Test data indicate concern, e.g.
                                    Ames test positive/DNA reactive                         Calculate PDE*




                                                                de
                                                                                          (NOEL/UF* analysis):
                                                                                            Safe exposure?

                                                                                    Yes                        No



                                              Presence of                           No further          Reduce to
          Use alternative     No
                                           genotoxic impurity                        action             safe level
          w/o genotoxic
             impurity                        unavoidable?
                                       se
                                              Yes



           Reduce to as       No            Level as low as
         low as reasonable              reasonably practicable?
                level
                 er
                                              Yes




          Negligible risk1)    No        Does estimated intake
                                           exceed TTC* of
   p

                                            1.5 µg/day?2)


                                              Yes
Su



             Restrict or                     Intake level              Yes      Negligible/
                              No      >1.5 µg/day acceptable? 3)
           reject applied                                                       acceptable
                use                                                                risk




    1)     Impurities with structural relationship to high potency carcinogens (see text) are to be
           excluded from the TTC approach
    2)     If carcinogenicity data available: Does intake exceed calculated 10-5 cancer lifetime risk?
    3)     Case-by-case assessment should include duration of treatment, indication, patient population etc (see text)

    *)     Abbreviations: NOEL/UF – No Observed Effect Level/Uncertainty Factor,
                          PDE – Permitted Daily Exposure, TTC – Threshold of Toxicological Concern




                                                         EMEA 2006                                                  7/8
 Case 1:19-md-02875-RMB-SAK             Document 2663-7           Filed 02/26/24      Page 9 of 9 PageID:
                                              98273


    REFERENCES
    Cheeseman M.A., Machuga E.J., Bailey A.B., A tiered approach to threshold of regulation,
    Food Chem Toxicol 37, 387-412, 1999
    Dobo K.L., Greene N., Cyr M.O., Caron S., Ku W.W., The application of structure-based assessment
    to support safety and chemistry diligence to manage genotoxic impurities in active pharmaceutical
    ingredients during drug development, Reg Tox Pharm 44, 282-293, 2006.
    Gold L.S., Sawyer C.B., Magaw R., Backman G.M., de Veciana M., Levinson R., Hooper N.K.,
    Havender W.R., Bernstein L., Peto R., Pike M.C., Ames B.N., A carcinogenic potency database of the
    standardized results of animal bioassays, Environ Health Perspect 58, 9-319, 1984.




                                                                             d
    Kroes R., Renwick A.G., Cheeseman M., Kleiner J., Mangelsdorf I., Piersma A., Schilter B., Schlatter
    J., van Schothorst F., Vos J.G., Würtzen G., Structure-based threshold of toxicological concern (TTC):
    guidance for application to substances present at low levels in the diet, Food Chem Toxicol 42, 65-83,
    2004.




                                                      de
    Kroes R., Kozianowski G., Threshold of toxicological concern (TTC) in food safety assessment,
    Toxicol Letters 127, 43-46, 2002.
    Müller L., Mauthe R.J., Riley C.M., Andino M.M., De Antonis D., Beels C., DeGeorge J., De Knaep
    A.G.M., Ellison D., Fagerland J.A., Frank R., Fritschel B., Galloway S., Harpur E., Humfrey C.D.N.,
    Jacks A.S.J., Jagota N., Mackinnon J., Mohan G., Ness D.K., O’Donovan M.R., Smith M.D.,
    Vudathala G., Yotti L., A rationale for determining, testing, and controlling specific impurities in
    pharmaceuticals that possess potential for genotoxicity, Reg Tox Pharm 44, 198-211, 2006
                                 se
    Munro I.C., Safety assessment procedures for indirect food additives: an overview. Report of a
    workshop. Reg Tox Pharm 12, 2-12, 1990.
    Munro I.C., Kennepohl E., Kroes R., A procedure for the safety evaluation of flavouring substances,
    Food Chem Toxicol 37, 207-232, 1999.
    Rulis A.M., Establishing a threshold of regulation. In Risk Assessment in Setting National Priorities
    (J.J. Bonin and D.E. Stevenson, Eds.) Plenum, New York, 271-278, 1989.
             er
    U.S. Food and Drug Administration (FDA), Food additives: Threshold of regulation for substances
    used in food-contact articles (final rule), Fed. Regist. 60, 36582-36596, 1995.
   p
Su




                                                 EMEA 2006                                            8/8
